Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 1 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 2 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 3 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 4 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 5 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 6 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 7 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 8 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 9 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 10 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 11 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 12 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 13 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 14 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 15 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 16 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 17 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 18 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 19 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 20 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 21 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 22 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 23 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 24 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 25 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 26 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 27 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 28 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 29 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 30 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 31 of 32
Case 19-10350-elf   Doc 4   Filed 01/18/19 Entered 01/18/19 15:12:49   Desc Main
                            Document      Page 32 of 32
